Filed 02/07/21                                                          Case 20-13098                                                                               Doc 20
                                                                 United States Bankruptcy Court
                                                                  Eastern District of California
   In re:                                                                                                                 Case No. 20-13098-B
   David Arturo Palma                                                                                                     Chapter 7
   Rosa Maria Camacho
          Debtors
                                                        CERTIFICATE OF NOTICE
   District/off: 0972-1                                                  User: admin                                                                 Page 1 of 1
   Date Rcvd: Feb 05, 2021                                               Form ID: L51                                                               Total Noticed: 1
   The following symbols are used throughout this certificate:
   Symbol          Definition
   +                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                    regulations require that automation-compatible mail display the correct ZIP.


   Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 07, 2021:
   Recip ID                 Recipient Name and Address
   tr                     + Irma Edmonds, PO Box 3608, Pinedale, CA 93650-3608

   TOTAL: 1

   Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
   Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
   NONE


                                                          BYPASSED RECIPIENTS
   The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
   preferred address, or ## out of date forwarding orders with USPS.
   NONE


                                                         NOTICE CERTIFICATION
   I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
   in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
   belief.

   Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
   complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
   the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

   Date: Feb 07, 2021                                            Signature:           /s/Joseph Speetjens
Filed 02/07/21                                                         Case 20-13098                                                      Doc 20

        FORM L51 Final Decree (v.9.14)                                                                                 20−13098 − B − 7

                      UNITED STATES BANKRUPTCY COURT
                           Eastern District of California
                                 Robert E. Coyle United States Courthouse
                                      2500 Tulare Street, Suite 2501
                                         Fresno, CA 93721−1318

                                                  (559) 499−5800
                                               www.caeb.uscourts.gov
                                               M−F 9:00 AM − 4:00 PM



                                                                   FINAL DECREE


        Case Number:             20−13098 − B − 7
        Debtor Name(s), Social Security Number(s), and Address(es):


           David Arturo Palma                                                Rosa Maria Camacho
            xxx−xx−6852                                                       xxx−xx−6889

           8147 N Cedar Ave Apt 113                                          8147 N Cedar Ave Apt 113
           Fresno, CA 93720                                                  Fresno, CA 93720

        OTHER NAMES USED WITHIN 8 YEARS BEFORE FILING THE PETITION:
          David Arturo Palma Granados                             Rosa Maria Camacho Contreras




        Trustee:                         Irma Edmonds
                                         PO Box 3608
                                         Pinedale, CA 93650

        Telephone Number:                (559) 221−2233



        Office of the United States Trustee:
               For cases in the Sacramento Division and Modesto Division: 501 I Street, Room 7−500, Sacramento, CA 95814
               For cases in the Fresno Division: 2500 Tulare Street, Suite 1401, Fresno, CA 93721



            It appearing to the court that the Trustee in the above−entitled case has completed administration of this estate,
           IT IS ORDERED that the estate is hereby closed, that the trustee is hereby discharged, and that the trustee's bond is
           hereby released from further liability, except any liability which may have accrued during the time such bond was in
           effect for the estate of this case.


        Dated:                                                             For the Court,
        2/5/21                                                             Wayne Blackwelder , Clerk
